Case 2:05-cr-20188-.]PI\/| Document 12 Filed 06/14/05 Page 1 of 2 Page|D 11

 

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Western Division " "` '“ "‘ `”
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-vs- Case No. 2:05cr20188-Ml
JAMES IVY

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
In accordance with the Bail Refonn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

JAMES IVY is committed to the custody of the Attorney General or his designated representative for
confinement iri a corrections facility separatc, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. JAMES IVY shall be afforded a reasonable opportunity for private consultation
with defense counsel On order of a Coun of the United States or on request of an attorney for the government, the
person in charge of the corrections facility shall deliver the Defendant to the United States marshal for the purpose of
an appearance in connection with a Court proceeding

Date: June 13, 2005 T/ /\-ép“_~

tU M. PHAM
UNrrED sTA'rEs MAGIsrRATE JUDGE

 

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UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20188 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

